                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE


____________________________________
                                    }
UNITED STATES OF AMERICA            }
                                    }
v.                                  }                NO. 1:21-CR-00088-JL
                                    }
COREY DONOVAN                       }
____________________________________}



                       STATUS REPORT OF COUNSEL RE:
               DEFENDANT’S PRO SE MOTION TO RETURN PROPERTY

       Now comes counsel for the defendant, Donna J. Brown, and hereby submits this status

report pursuant to this Court’s Order of January 10, 2025.

                                    Relevant Procedural History

       On November 21, 2024, defendant filed a petition for habeas corpus relief pursuant to 28

U.S.C. § 2555 through which he advances a claim that his trial counsel, Matthew G. Stachowske,

was ineffective. Doc. 135. On the same date, the defendant filed a pleading titled Motion for

Return of Property. Doc. 134. The basic premise of this pleading was that the Government was in

possession of recordings of certain jails calls between the defendant and his trial counsel during the

period before and during the jury trial in this matter. Doc. 134. The defendant supports this claim

with what appear to be records of jails calls to a number ending in -9045, the phone number of his

trial counsel. Id. 10-12. The Government filed an objection to this pleading stating, in part, that

“The -9045 number does not otherwise appear in the government’s records that it has been able to

locate in preparing this response…[t]he government will continue to exercise its diligence in

reviewing the previous discovery productions in this case and will supplement the record if

warranted.” Doc. 136: 2.
        On January 10, 2025, this Court appointed undersigned counsel to confer with the

defendant to resolve the Motion and file a status report on or before March 11, 2025. This

pleading follows and undersigned counsel hereby requests an additional 30 days to consult with

the Government regarding the premise of the defendant’s motion, i.e., whether the Government is

in possession of the jail calls that are the subject of the defendant’s motion.

                                             Status Report

        After some difficulties in setting up a call with the defendant, undersigned counsel was

eventually able to consult with the defendant. After consulting with the defendant, undersigned

counsel was able to determine that it was the defendant’s belief that the Government was in actual

possession of the subject jail calls.

        As the Government’s pleading did not seem definitive in its assertion that it did not have

the jail call recordings sought by the defendant, undersigned counsel reached out to counsel for the

Government to resolve this issue. Counsel for the Government, Charles L. Rombeau, informed

undersigned counsel that his review of the Government’s records suggests that the defendant may

have received the subject jail calls directly from the jail and that the Government did not have

these recordings, but that he was not 100% sure of this finding. Attorney Rombeau proposed that,

to resolve this issue, he will work with his paralegal to attempt to put together a spreadsheet of all

of the jail calls of record in the Government’s file and that this spreadsheet could serve as a basis to

cross-reference the phone records in possession of the defendant.

        Undersigned counsel proposes that this Court defer ruling on the defendant’s Motion to

Return Property for an additional 30 days so that the parties can continue to consult on this matter

as described above.

                                                        Respectfully submitted,



                                                        Corey Donovan

                                                         By His Attorney,
Date: March 11, 2025   /s/ Donna J. Brown__
                       Donna J. Brown
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March11, 2025, the above notice was served electronically
through CM/ECF upon all counsel of record.

                                                    /s/ Donna J. Brown_
                                                    Donna J. Brown #387
